 

AO 106 (Rev. 01/09) Application for a Search Warram

 

UNITED STATES DISTRICT Cohm,}“ED SET£SI;
rome ALBuQuERQU UE 'STRicT CQURT

EW MEXJCO

District of New Mexico

In the Matter of the Search of

(Briey'ly describe the property to be searched
or identijj) the person by name and address)
Johnel REDD|C
Date Of Bi|'th§ XX/XXH 963
SSNI XXX-XX-2574

CaseNo. l(:é ]W (ZMO

`/\_/\_/V\/\_/

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that l have reason to believe that there is now concealed on the following person or property

lOCat€d in the DlSt!`lCt Of NGW MeXiCO (ia'entij§) the person or describe property to
be searched and give its location).' See Attachment A

 

The person or property to be searched, described above, is believed to conceal (identijj) the person or describe the
property to be seized)! See Atfachmen'[ B

The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
d evidence of a crime;
El contraband, fruits of crime, or other items illegally possessed;
CI property designed for use, intended for use, or used in committing a crime;

|:| a person to be arrested or a person who is unlawfully restrained

The search is related to a violation of 18 U.S.C. § 1951 , and the application is based on these
facts: See Attached Affldavit

d Continued on the attached sheet.

El Delayed notice of days (give exact ending date if more than 30 days: is requested
under 18 U. S C. § 3lO3a, the basis of which 1s set forth %d sheet

L, App[icant’ s signature

Samue| Supnick, Specia| Agent ATF

Printed name and title

Sworn to before me and signed in my presence

Date- 7a ft » 12 M

Judge s signature

City and state: A|buquerque, N|Vl /‘(r-‘fap{ K/,{q_kg` L(_S /(//QJQISM j(`/J 51<,

Printed name and title/

 

1.

AFFIDAVIT FOR SEARCH WARRANT

I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives
(ATF). l have been employed with ATF since January of 201 7. I am an investigative, or
law enforcement officer of the United States within the meaning of Title 18, United
States Code, Section 2510 (7), in that I am an officer of the United States Who is
empowered by law to conduct investigations and make arrests for the offenses
enumerated in Title 18 and 26, United States Code.

Through the ATF, I attended the Criminal lnvestigator Training Pro gram at the Federal
Law Enforcement Training Center, as well as the Special Agent Basic Training Pro gram
at the ATF National Academy. During these programs, l received instruction in and
practiced the investigation of violations of federal firearms, explosives, and arson
statutes. Prior to employment with ATF, I served for three and a half years as a local
police officer. My training and experience has involved7 among other things: (1) the
debriefing of defendants, witnesses and informants, as well as others who have
knowledge of the purchase, possession, distribution, and transportation of firearms and of
the laundering and concealment of proceeds of firearms and drug trafficking; (2)
surveillance; (3) analysis and processing of documentary, electronic, and physical
evidence; (4) the legal and illegal purchase of firearms; (5) the execution of arrest and
search warrants seeking firearms and narcotics (6) and firearms trafficking

The statements contained in this affidavit are based, in part, on information provided by
Special Agents and/or Task Force Officers of the ATF and other law enforcement
officers, and on my background and experience as a Special Agent of the ATF.

This affidavit is intended to show only that there is sufficient probable cause for the
requested warrant and does not set forth all of my knowledge about this matter.

IDENTIFICATION OF THE INDIVIDUAL TO BE SEARCHED

. The individual to be searched is Johnel REDDIC with a date of birth of X)UXX/ 1963 and

a Social Security Number of XXX-XX-2574. He is further described as a black male,
approximately 5’08” tall and 160 pounds in weight.

Johnel REDDIC is currently incarcerated at the Cibola County Correctional Center
located in Milan, New Mexico.

The applied-for warrant would authorize the taking of buccal cells from Johnel REDDIC
with the use of oral swabs, which would then be forwarded to a law enforcement forensic
laboratory for DNA analysis

PROBABLE CAUSE

. On March 2, 2018, Detectives of the Albuquerque Police Department (APD) Armed
Robbery Unit informed Special Agent (SA) Samuel Supnick of the Bureau of Alcohol,
Tobacco, Firearms and Explosives (ATF) of the arrest of Perfilia CANDELARIA and
Johnel REDDIC for the armed robbery of a Valero gas station, located at 4420 Zuni Road
SE, Albuquerque, New Mexico.

SA Supnick learned from APD incident report number 180020812 and the corresponding
State of New Mexico Criminal Complaint that on March l, 2018, at approximately 10:23
PM, APD officers responded to the Valero gas station, located at 4420 Zuni Road SE, in
reference to an armed robbery of that business Arriving on scene, APD Officer (Ofc.)
Flores-Vela made contact with Valero employee C.S. C.S. advised Ofc. Flores-Vela that
a Hispanic or Native American female, later identified as Perfilia CANDELARIA, had
entered the store and pointed a silver handgun at him. Hernandez described
CANDELARIA as approximately five feet in height and wearing a grey beanie hat with
eyeholes covering her whole face, black pants, and a blue jacket. Hernandez advised Ofc.
Flores-Vela that CANDELARIA had demanded several items upon entering the gas
station and that C.S. had complied with all commands given by CANDELARIA. C.S.
advised that CANDELARIA had obtained forty-five dollars ($45.00) in United States
currency from the register and approximately forty (40) packs of cigarettes

. APD Ofcs. Flores-Vela and Tafoya reviewed the business’s surveillance footage of the
incident They observed in the surveillance footage that CANDELARIA was indeed
wearing a beanie with holes, white and black shoes, black leggings, a large blue jacket,
and blue gloves They also observed that CANDELARIA pointed a silver handgun at
Hernandez upon entering the business Ofcs. Flores-Vela and Tafoya observed that upon
obtaining money from the cash register and cigarettes, CANDELARIA exited the gas
station and made her way to a dark-colored Sport Utility Vehicle (SUV) located outside
of the Valero’s property. The SUV then left the area. The officers observed that the SUV
appeared to have a dark-colored top portion and light brown lower portion. A description
of the vehicle was provided over the police radio.

. At approximately 10:48 PM, APD Sergeant (Sgt.) Pitzer was patrolling in the area of
7640 Central Avenue SE when he observed an SUV with a maroon top portion and tan
bottom portion parked at the Best Choice Inn, located at that address Sgt. Pitzer had
previously heard the description of the robbery suspect as a female, approximately five
feet in height, wearing dark layered clothing, black and white shoes and armed with a
silver handgun. Sgt. Pitzer also heard that the suspects Were possibly in an SUV with a
dark top and tan bottom portion. Sgt. Pitzer pulled into the parking lot and used a
spotlight to illuminate the vehicle, which was occupied and bearing New Mexico
registration REDDIC. When Sgt. Pitzer illuminated the vehicle, a female, later identified
as CANDELARIA, jumped out of the passenger seat and attempted to walk away from
the vehicle. Sgt. Pitzer commanded CANDELARIA to get back in the vehicle, and she
complied. Sgt. Pitzer observed that CANDELARIA was wearing blue jeans and a dark

lO.

ll.

12.

 

hooded sweatshirt, which somewhat resembled the description of the robbery suspect.
Sgt. Pitzer requested that additional officers respond to his location.

A high risk felony traffic stop was conducted on the SUV, resulting in the removal and
detention of its occupants Johnel REDDIC was identified as the driver of the vehicle,
and Perfilia CANDELARIA was identified as the passenger of the vehicle, When
REDDIC and CANDELARIA were detained, APD officers observed numerous boxes of
unopened cigarettes in a bag on the rear passenger side floorboard of the vehicle. A black
holster was also observed on the passenger side floorboard. Sgt. Pitzer observed the silver
slide of what appeared to be a handgun under the driver’s seat.

Ofc. Flores-Vela transported C.S.to the scene of the Best Choice Inn, where Hemandez
identified CANDELARIA as the female who had committed the robbery.

Ofc. Flores-Vela observed that the SUV, a 2003 Kia, was consistent in appearance with
the vehicle he had observed in surveillance footage from the Valero. Ofc. Flores-Vela
also observed the cigarettes in the back of the vehicle, as well as a blue bag consistent in
appearance with the bag that CANDELARIA was observed holding in the surveillance
footage of the robbery.

On scene of the traffic Stop, Ofc. Padilla advised CANDELARIA, who was detained in
handcuffs, of her rights per Miranda. CANDELARIA waived her rights and advised that
she did not have a firearm. CANDELARIA advised Ofc. Padilla that the firearm was not
hers, but then retracted her statement and stated that she did not know anything about a
firearm.

An APD Crime Scene Specialist responded to the scene of the traffic stop and sealed the
vehicle, which was towed to the APD Crime Lab.

REDDIC and CANDELARIA were transported to APD headquarters, located at 400
Roma Avenue NW. There, they were interviewed by Detective (Det.) Jared Romero. SA
Supnick spoke with Det. Romero on March 5, 2018, and he advised the following
information

Det. Romero advised CANDELARIA of her rights per Miranda, and she agreed to speak
with him. CANDELARIA advised Det. Romero that she does not like guns and that she
did not know why she used the gun during the robbery. CANDELARIA stated that she
was afraid of REDDIC and that he put her up to it. CANDELARIA advised that REDDIC
was driving at the time of the robbery. CANDELARIA also advised that she was afraid
of REDDIC retaliating against her for speaking with law enforcement

Det. Romero advised REDDIC of his rights per Miranda, and he agreed to speak with
him. REDDIC stated that no one else had driven his vehicle that day. REDDIC stated that
he had picked up CANDELARIA somewhere on Central Avenue and that she had asked
him to drop her off at the Best Choice Inn. REDDIC stated that he did not know anything
about the robbery. When Det. Romero confronted REDDIC with the fact that his vehicle

13.

14.

15.

16.

was visible in the surveillance footage from the Valero, REDDIC put his head in his
hands and did not respond to Det. Romero.

On March 2, 2018, SA Supnick traveled to the Valero gas station located at 4420 Zuni
Road SE. An employee of the business provided SA Supnick with an invoice to that
business from Ty Inc. for plush toys to be sold at the business The invoice is dated
February 9, 2018. The invoice is addressed from Ty Inc., P.O. Box 5377, Oak Brook,
Illinois. SA Supnick obtained the shipping label from the box of plush toys, which
indicated that the box was shipped from the Ty Distribution Center located in
Bolingbrook, Illinois, thereby indicating that the business is engaged in interstate
commerce SA Supnick also learned that although the gas station bears Valero signage, it
is operated by Circle K.

Also on March 2, 2018, SA Supnick obtained and viewed a copy of the surveillance
footage of the March 1, 2018 robbery. In the surveillance footage, SA Supnick observed
the individual identified as CANDELARIA walk across a parking lot and enter the
business at approximately 10:17 PM. CANDELARIA leaves via a different door at
approximately 10:18 PM. In the surveillance footage from the fuel drop area of the
business, the vehicle identified as REDDIC’s SUV is observed waiting in or on the side
of the roadway with its headlights off at the start of relevant footage at approximately
10:18 PM. The vehicle remains stationary for approximately thirty (30) seconds, until
pulling forward several feet to meet CANDELARIA, who is seen running from the area
of the business The vehicle then pulls away.

On March 5, 2018, SA Supnick assisted APD Detectives and Crime Scene Specialists in
the execution of a State of New Mexico search warrant on the 2003 Kia SUV bearing
New Mexico registration REDDIC, seized at the arrest of REDDIC and CANDELARIA.
The vehicle was sealed at the scene of the seizure and remained sealed until the execution
of the warrant. A black beanie with eyeholes, a blue button up shirt, and a blue jacket
were located in the vehicle. A blue bag, containing approximately $3.5 3 in United States
currency and packs of cigarettes, was also located in the rear passenger area of the
vehicle, An additional one (1) dollar bill was located in the front passenger area.
Additional unopened boxes of cigarettes in a plastic bag were located in the rear
passenger area of the vehicle, ln total, approximately forty-eight (48) packs of cigarettes
were recovered from the vehicle. A black holster was observed in the front passenger
area of the vehicle, while a silver handgun was located under the driver’s seat. All of the
above items, except the black holster, were seized as evidence. These items were
consistent in appearance with those visible in the surveillance footage of the robbery.

SA Supnick identified the handgun seized from the vehicle as a Sturm, Ruger & Co.
model 22/45, .22 long rifle caliber semiautomatic pistol, bearing serial number 220-
16954. SA Supnick observed that the firearm was loaded with approximately eight (8)
rounds of Peters High Velocity brand .22 long rifle caliber ammunition, to include one
round in the firearm’s chamber.

17.

18.

19.

20.

21

SA Supnick test fired the above firearm and determined the firearm fired and functioned
as designed Further, SA Supnick determined the above firearm was not manufactured in
the State of New Mexico and was found in the State of New Mexico; therefore affecting
interstate commerce.

SA Supnick determined that CANDELARIA is a convicted felon, having pleaded guilty
to felony Possession of a Controlled Substance in case D-202-CR-201300661 in the
Second Judicial District of New Mexico, County of Bernalillo. CANDELARIA was
additionally convicted of felony Possession of a Controlled Substance subsequent to a
revocation of probation in case D-202-CR-200805952, in the Second Judicial District of
New Mexico.

SA Supnick reviewed the NCIC Interstate Identification Index (III) response for a query
of REDDIC by FBI number 770190MA9. SA Supnick observed entries on REDDIC’s III
for felony convictions in California in reference to a 1991 charge for Transport/Sell
Narcotics/Controlled Substance, a 1999 charge for Burglary, and a 2001 charge for
Vehicle Theft. SA Supnick also observed a prior arrest for Second Degree Robbery in
California from 2007 on Reddic’s IIl.

Further investigation revealed that REDDIC is a convicted felon, having been convicted
of Transport Cocaine in case number BA031695 out of the Superior Court of California,
County of Los Angeles. REDDIC was also convicted of Burglary in case number MCR-
331495-1 out of the Superior Court of California, County of Sonoma. REDDIC’s felony
Vehicle Theft charge appeared to have been pleaded to misdemeanor

. On March 6, 2018, SA Supnick reviewed surveillance footage from the business located

at 413 Adams Street SE. In the surveillance footage, SA Supnick observed two figures,
one shorter wearing a grey hat and dark clothing and the other taller, wearing a black hat,
blue jacket or shirt and black pants The taller figure appeared to be a black male and
appeared to be holding a bag consistent in appearance with the bag held by
CANDELARIA during the robbery. The figures crossed Zuni Road SE in a southbound
direction, stopping at the northeast corner of the Valero gas station at approximately
10:03 PM on March 1, 2018. The figures waited until approximately 10:04 PM before
walking back across Zuni Road SE in a northeast direction. Between approximately
10:15 PM and 10:16 PM, a dark colored pick up truck left from the parking lot of the
Valero gas station. As the pickup truck left, the taillights and then headlights of a vehicle
are visible in the portion of the frame to which the figures had walked approximately ten
(10) minutes earlier. At approximately 10:16 PM, SA Supnick also observed an SUV
with a dark-colored top portion and light-colored bottom portion dropping off a passenger
in the area of the intersection of Adams Street SE and Zuni Road SE. The passenger then
ran in the direction of the Valero gas station, and the SUV continued southbound on
Adams Street SE. SA Supnick initially recorded this footage on his phone; however, Det.
Romero later returned to the business and collected the images directly from its
surveillance system.

 

22.

23.

24.

25.

26.

27.

28.

SA Supnick did observe that the timestamp on the surveillance system at 413 Adams
Street SE matched the current time when he traveled to that business on March 6, 2018,
SA Supnick also traveled to the Valero on that date and observed that the timestamp on
its surveillance system also matched the current time

On March 7, 2018, SA Supnick obtained F ederal arrests warrants for REDDIC and
CANDELARIA. on the basis of a criminal complaint, per Special Assistant United States
Attorney Tim Trembley.

On March 8, 2018, SA Supnick and Det. Romero returned to the Valero gas station to
review additional footage from its surveillance system. There, they observed that the
system captures sound in addition to video, but this sound is apparently not transferred
when the video is burned to disk. Det. Romero captured the sound from the robbery on
his lapel camera system. SA Supnick and Det. Romero observed that the figures visible at
approximately 10:03 PM in the adjacent business’s surveillance are also visible in the
Valero’s surveillance All footage from the Valero’s surveillance system from 10:00 Pl\/I
to 10:30 PM on March 1, 2018 was provided to Det. Romero, who later provided SA
Supnick with a copy.

On March 9, 2018, SA’s Supnick and Haanes, assisted by TFO Hernandez, traveled to
the Bernalillo County Metropolitan Detention Center (MDC) and took REDDIC and
CANDELARIA into Federal custody. SA Supnick transported REDDIC in his vehicle,
and TFO Hernandez transported CANDELARIA in an ATF cage car from MDC to the
United States District Court.

Once REDDIC was secured in SA Supnick’s vehicle, SA Supnick offered him coffee and
water and advised him of his rights per Miranda. REDDIC stated that he understood his
rights SA Supnick spoke with REDDIC about his prior employment and interests When
SA Supnick brought up the subject of the robbery, REDDIC directed the conversation
away from the robbery. When SA Supnick informed REDDIC of the information he had
learned in his investigation, REDDIC asked if CANDELARIA had provided that
information SA Supnick informed REDDIC that he had learned that information from
surveillance footage REDDIC then became quiet. SA Supnick encouraged REDDIC to
take ownership of his actions REDDIC, referring to an a earlier analogy provided by SA
Supnick, stated that he had “no choice but to eat it.” REDDIC then requested to speak
with a lawyer, and SA Supnick stopped all questioning of REDDIC.

Following their Initial Appearances at the United States District Court on March 9, 2018,
REDDIC and CANDELARIA were remanded to the custody of the United States
Marshals Service. On March 12, 2018, SA Supnick provided REDDIC and
CANDELARIA’s remaining property to their respective defense counsels

On March 12, 2018, SA Supnick traveled to the Best Choice Inn, located at 7640 Central
Avenue SE. Employees of that business provided SA Supnick with room rental records
from March 1 and March 2, 2018. SA Supnick did not observe the names Johnel

 

29.

30.

REDDIC or Perfilia CANDELARIA on the list of individuals renting rooms on those
dates

Also on March 12, 2018, SA Supnick collected the surveillance footage from the
business located at 418 Washington Street SE. SA Supnick verified with a security
technician of that business that the timestamp from its surveillance is accurate In
reviewing the surveillance SA Supnick observed a vehicle with a dark top and light
bottom portion pass its lot, located at the southwest corner of Zuni Road SE and
Washington Street SE, at approximately 10:17 PM.

On March 13, 2018, SA Supnick reviewed Det. Romero’s lapel camera video of his
interviews with CANDELARIA and REDDIC. In the lapel video, Det. Romero advised
REDDIC of his rights per Miranda. REDDIC agreed to speak with Det. Romero.
REDDIC stated that he had a good day, as he had run errands and done normal things
REDDIC stated that he did not work that day. REDDIC stated that he had been with
CANDELARIA sporadically throughout the day, but that the last time he had seen her
was when he gave her a ride to the Best Choice Inn. REDDIC stated that this occurred
right around when they were stopped by the police Det. Romero asked if REDDIC had
not seen CANDELARIA previously. REDDIC interrupted Det. Romero and stated that
he had seen her off and on. Det. Romero asked if REDDIC had not seen CANDELARIA
previously that day, and REDDIC stated that he had not until CANDELARIA asked him
for a ride REDDIC stated that he picked her up off of Central Avenue after he saw her
out on the street. Det. Romero asked REDDIC what happened when they were being
pulled over by the police REDDIC asked Det. Romero what CANDELARIA had said.
Det. Romero told REDDIC that REDDIC was lying to him, as he knew that REDDIC’s
vehicle was at Valero. Det. Romero stated that REDDIC was in possession of his car the
entire time, and REDDIC nodded in agreement. Det. Romero stated that after the robbery
occurred, CANDELARIA ran to REDDIC’s vehicle Det. Romero informed REDDIC of
the serious nature of the charges against him. REDDIC put his head in his hands and
stated that he did not know what to say, as CANDELARIA had called him to give her a
ride to the Best Choice Inn. Det. Romero asked REDDIC why his vehicle was at the
Valero at the time of the robbery and why there were items stolen during the robbery in
REDDIC’s vehicle Det. Romero stated the seriousness of the situation and stated that
REDDIC’s vehicle is on video. REDDIC asked what his car was doing on video. Det.
Romero described the Surveillance footage to REDDIC. REDDIC put his head in his
hands and became silent. Det. Romero asked if REDDIC had anything additional to say.
REDDIC stated that there was nothing more to say, as Det. Romero had said it all, and
Det. Romero was saying that is what happened. REDDIC stated that his side of the story
was that CANDELARIA asked him to pick her up and give her a ride, and that is what he
did. REDDIC stated that CANDELARIA had given him the cartons of cigarettes that
were found in his vehicle Det. Romero asked REDDIC how he had gotten the gun in his
vehicle and REDDIC stated that he did not know anything about a gun. REDDIC stated
that he did not own any guns REDDIC stated that he did not have anything else to say,
and Det. Romero concluded the interview.

31. On August 14, 2018, Det. Romero forwarded SA Supnick a digital copy of the Latent
Fingerprint Unit Report and Conclusions in reference to the firearm and magazine
recovered in this investigation The report stated that no workable latents were developed.

32. Your Affiant knows it is common for an individual’s DNA to be transferred to items
handled by that individual; in this case, the items are a firearm and ammunition Based
upon these facts, your Affiant respectfully requests that a search warrant be issued for
Johnel REDDIC, to collect a sample of buccal cells for forensic analysis and for use as
evidence in court as your Affiant opines there is probable cause to suggest Johnel
REDDIC previously and unlawfully possessed the above firearm and ammunition

TECHNICAL TERMS

1. Based on my training and experience your affiant used the following technical terms to
g convey the following meanings

a. DNA (deoxyribonucleic acid) carries design information between generations,
and thus accounts for inherited biological traits (phenotypes). At conception, a
father's sperm injects a set of DNA molecules into a mother's egg, which already
contains a nearly matching set. Those molecules contain the designs for all the
material components their child needs for growth, development, and daily living

b. Buccal: pertaining to the inside of the cheek, the surface of a tooth, or the gum
beside the cheek.

2. Based on my training, experience research, and from consulting with individuals
employed by forensic laboratories, it is common for individuals to transfer biological
materials containing their specific DNA on the objects handled by those individuals

 

 

1.

CONCLUSION

l submit that this affidavit supports probable cause for a search warrant authorizing the
collection of buccal cells for forensic analysis from Johnel REDDIC to determine specific
DNA for comparison with specific DNA recovered from the above described items and
potentially other recovered evidence for use as evidence in court.

Respectfully s bmitted,

 

 

Samuel/Supr@ck b l/
Special Agent "

ATF

Subscribed and sworn to before me

UW 4, 201 §§ 2
' \

UNITED STATES MAGISTRATE JUDGE

 

Attachment A

DESCRIPTION OF PERSON TO BE SEARCHED

 

The person known as Johnel REDDIC, Date of Birth: XX/XX/1963, SSN: XXX-XX-2574.
REDDIC is currently located at the Cibola County Correctional Center in Milan, New
Mexico.

See below picture

 

 

 

 

 

 

Attachment B

DESCRIPTION OF EVIDENCE TO BE SEARCHED FOR AND SEIZED

DNA evidence from Johnel REDDIC; to wit; Buccal cell swabs, sufficient for DNA analysis,
which would be material evidence in a criminal prosecution

 

